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Criminal Complaint

                                                                                                                          FILED
                                       UNITED STATES DISTRICT COURT                                                     May 16, 2025
                                                                  for the                                          CLERK, U.S. DISTRICT COURT
                                                                                                                   WESTERN DISTRICT OF TEXAS

                                                        Western District of Texas                                                sec
                                                                                                                BY: ________________________________
                                                                                                                                        DEPUTY



                     United States of America                        )
                                V.                                   )
                      James Wesley Burger                            )       Case No.
                                                                     )                     1:25-mj-00583
                                                                     )
                                                                     )
                            Defendant(s)


                                                      CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    Janua   23 2025               in the county of ____W_il_ li_a_ms_ _on_ ____ in the
     Western             District of            Texas            , the defendant(s) violated:

          Code Section                                                      Offense Description
18 U.S.C. 875(c)                                 Threats communicated in interstate commerce




         This criminal complaint is based on these facts:
See Attachment A




                                                                            �"
          gJ Continued on the attached sheet.



                                                                                                Complainant ·s signature

                                                                                        FBIS
                                                                                                 Printed name and title

Sworn to via telephone pursuant to F.R.C.P. 4.1.


Date:      May 16, 2025
                                                                                                   Judge 's signature

City and state:                            Austin Texas                                   Mark Lane U.S. Ma istrate
                                                                                                 Printed name and title
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                                  UNITED STATES DISTRICT COURT                            FILED
                                                                                        May 16, 2025
                                   WESTERN DISTRICT OF TEXAS                       CLERK, U.S. DISTRICT COURT
                                         AUSTIN DIVISION                           WESTERN DISTRICT OF TEXAS

                                                                                                 sec
                                                                                BY: ________________________________
                                                                                                        DEPUTY
SEALED

 UNITED STATES OF AMERICA                             §
                                                      §
 v.                                                   §          1:25-mj-00583
                                                            NO. ________________
                                                      §
 JAMES WESLEY BURGER                                  §
                                                      §
                               Defendant.             §
                                                      §
                                                      §

                       AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

          I, Carletta Carter, Special Agent, Federal Bureau of Investigation, Austin, Texas, being

duly sworn, depose and state the following:

          1.         I am a Special Agent with the Federal Bureau of Investigation (FBI) and have been

since July 5, 2020. My duties involve the investigation of a variety of violations of federal offenses

including threats to life, acts of domestic terrorism, acts of international terrorism, and other

violations of federal law. I have completed approximately five months of basic and specialized

training at the FBI Academy, Quantico, Virginia. During that time, I received formal training and

have gained experience in interviewing and interrogation techniques, arrest procedures, search

applications, the execution of search and seizures, and various other criminal laws and procedures.

I am an “investigative or law enforcement officer of the United States” within the meaning of

Section 2510(7) of Title 18, United States Code, that is, an officer of the United States who is

empowered by law to investigate and make arrests for offenses alleged in this warrant.

          2.         My knowledge is based on my participation in the investigation, discussions with

other law enforcement agents, and a review of reports and other documentary evidence. This

affidavit is intended to show merely that there is sufficient probable cause for the requested warrant


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and does not set forth all of my knowledge about this matter. All statements are set forth in sum

and substance and relevant part. All quotations or transcriptions of interviews are in draft form

and subject to revision.

          3.         Based upon the facts set forth below, I submit there is probable cause to believe

that, on or about January 23, 2025 within the Western District of Texas and elsewhere, Defendant

James Wesley BURGER did violate 18 U.S.C. § 875(c) by transmitting in interstate commerce

any communication containing any threat to injure the person of another.

                                                  FACTS

          4.         The United States is investigating BURGER for making threats via the Roblox

gaming platform to attack a Christian concert or event.

Report of the Threat by a Witness

          5.         On or about January 23, 2025, the FBI received a report from an individual located

in the State of Nevada (the “Witness”) of a possible domestic terrorist incident being discussed on

Roblox by user “Crazz3pain.” On or about January 21, 2025, the Witness observed the user of

Crazz3pain state they were willing, as reported by the Witness, to “kill Shia Muslims at their

mosque.” Crazz3pain and another Roblox user (Roblox User 1), continued to make violent

statements so the Witness left the game but returned to the game on or about January 23, 2025.

The Witness observed Crazz3pain tell Roblox User 1 to check their messages on Discord. Roblox

User 1 replied on Roblox to Crazz3pain, they should delete the photograph of firearms within the

unknown Discord chat, “in case it was flagged as suspicious… the firearms should be kept hidden.”

Crazz3pain continued to speak on Roblox to Roblox User 1 about their desire to commit

“martyrdom” at a Christian event that he wanted to bring humiliation to worshippers of the cross.

When the Witness asked Crazz3pain if it was going to be at a church service, Crazz3pain told them

no, it was going to be at a Christian concert. When Crazz3pain was asked when it would be,


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Crazz3pain said “it will be months… Shawwal… April.” Based on my training and experience, I

know Shawwal is the tenth month of the Islamic calendar and follows Ramadan. It corresponds to

approximately March 31, 2025, to April 28, 2025. The Witness observed messages from

Crazz3pain stating they owned at least one firearm. The following are certain screenshots provided

by the Witness though not all of the communications were captured.




          6.         Based on billing information provided by Roblox, the name associated with the

Crazz3pain account was James W BURGER, with an address in Round Rock, TX, and a Gmail



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email address. Roblox also provided account internet protocol (IP) address access logs showing

access to the account from the San Antonio and Austin, TX area. This corroborates BURGER

being within the Western District of Texas at the time he made threatening statements as Roblox

user Crazz3pain.


Search of BURGER’s Residence and Interview of BURGER


          7.         On or about February 28, 2025, investigators executed a search warrant at

BURGER’s residence. Among other things, agents recovered computers and an iPhone. During

interviews conducted in connection with the search, agents learned that one of BURGER’s family

members had installed a keystroke logger (or keylogger) program on BURGER’s computer. Based

on open resource review of the keylogger company’s website, I have learned that this software is

capable of collecting chat and email messages sent, websites visited, online searches, and social

networking activity, passwords entered, file and document activity, and application activity. When

the software captures what an individual types, it also records when the user deletes and retypes

words or phrases. The software stores the keystroke logs on the monitored computer itself. The

administrator of the computer then has to access the software directly on the monitored computer

to view the captured activity logs. The software can be configured to send email reports to the

administrator/user’s email address specified. One of BURGER’s family members provided the

keystroke logs to the FBI.

          8.         On or about January 27, 2025, the keystroke logger software recorded an individual

accessing RobloxPlayerBeta.exe. I know that is a program used to access the Roblox platform. As

noted below, during an interview with law enforcement, BURGER admitted to using this laptop

to play Roblox and there is thus probable cause to believe he was the user. BURGER typed the

following                      at        approximately              7:03             pm:             “r


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wwwwwwawdassssssssssssssssssssssawwwwadddawdsadd/Ibn Isa ({Backspace]* /As salaamu

alaykom /I’ve come to conclude it will befall the 12 of Shawwal aa/And it will be a music festival

/Attracting bounties of Christians s/In’shaa’allah we will attain martyrdom /And deal a grevious

wound upon the followers of the Cross /Pray for me and enjoin yourself to martyrdom /There

In’shaa’allah ya Rabb al-Mu’mineen a”. An employee of the keylogger software company has

confirmed that “/” refers to a user hitting the “Enter” key and thus I believe these statements were

communicated and not merely typed on the computer. After comparing the keystroke logs with

the report to the FBI by the Witness, the above statement was not the original threat, but an

additional threat BURGER made on Roblox, similar to the one the Witness reported. The language,

however, is consistent with BURGER’s statements as captured by the Witness.

          9.         For the date and time that the Witness reported they encountered BURGER on

Roblox, there were no keystroke logs reported, indicating BURGER used a different device such

as his iPhone to access Roblox. I observed cookie data obtained from BURGER’s iPhone and

found that, at 1:13:55 a.m. UTC on January 24, 2025, BURGER accessed Roblox. The Round

Rock, Texas area falls inside the Central Time Zone and the date was before daylight savings time.

The time thus translates to approximately 7:13 p.m. on January 23, 2025. The corresponding date

for the threat reported by the Witness is estimated to have been around that time on January 23,

2025. I believe this data corroborates BURGER’s use of Roblox at the time the Witness reported

encountering Roblox user Crazz3pain (BURGER).

          10.        During the premises search warrant execution, BURGER agreed to speak

voluntarily with agents while seated in his living room. He was advised that he was not in custody

and that the interview was voluntary. He was afforded the opportunity to pause the interview and

leave the room to pray.




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          11.        Asked about the goals of the threat against a Christian concert, BURGER stated:

“[A]t the time it was mostly a heightened emotional response… but it certainly doesn’t take away

from the fact that you know that [] is . . . the concept of what would have occurred . . . the deaths

of, of Christians . . . that’s not something that’s going . . . be shunned or, or shied away from . . .

the details definitely . . . became exaggerated which . . . the end, end goal it’s still the same . . . it

hasn’t shifted a bit. . . . [T]o obey and… submit and live under the banner and laws of God or . . .

to literally die trying. . . . So that’s the end goal. … [G]et the hell out of the US and . . . if I can’t

. . .then, martyrdom or bust.”

          12.        Regarding the intention behind the statements made by Crazz3pain, BURGER

stated: “[T]he intention . . . and the action is something that is meant to or will cause terror. . . . I

cannot agree with the term terrorist, you know, I definitely agree that it serves the same means that

a terrorist would be seeking.” Asked whether he was a terrorist, BURGER said: “I mean, yeah,

yeah. By, by the sense and . . . by my very own definition, yes, I guess, you know, I would be a

terrorist.”

          13.        BURGER was also asked whether he mentioned specific guns in his online

statements, and he said: “I think the closest I mentioned was mentioning I would use like . . . a

pistol or a car or like a small hunting rifle. Something like that. I don’t remember mention of like

a shotgun.” Asked whether he would be looking to acquire a rifle to carry out an attack: “Yes.

Pretty much.”

          14.        During the interview, BURGER was shown photographs provided by the Witness

of the conversation between Crazz3pain and two other Roblox users discussing an attack at a

Christian concert. Although BURGER at one point told case agents that he owned the account

Crazz3pain and provided Agents the password, when shown the photograph, BURGER attempted

to say he was not the user of Crazz3pain. I began referencing the statement the Witness told the


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FBI that they saw Crazz3pain make on Roblox, I said to BURGER, “…I have an ongoing

conversation, and in the conversation, you talk about dealing a grievous, grievous- wound to

followers of the cross. So you were able to just put, input that sentence, so that was you that made

that statement.” When I said the word “grievous,” BURGER said the word “wound,” indicating

he was aware of that specific statement. BURGER stated, “huh how do you mean?” I said, “you

made that statement?” BURGER stated, “Yeah, yeah, yeah, yeah.”

          15.        Although he attempted to argue that he used the Crazz3pain account in conjunction

with another person, BURGER admitted, “Yes, I used that account, and yes, I've made similar

statements.”

Corroborating Information from BURGER’s Electronic Devices

          16.        A search of BURGER’s electronic devices provided further corroborating evidence

of his use of the Crazz3pain Roblox account and his intent:

                a. On an Apple iPhone, the Notes application allows a user to record quick thoughts

                     or to save longer notes consisting of checklists, images, web links, scanned

                     documents, handwritten notes, or sketches. Two notes explained how to prevent

                     leaving any DNA or fingerprints behind, the third note in the application was titled,

                     “An address to the followers of the cross” and stated the following: Bismillah Hir-

                     Rahmaan Nir-Raheem 1… “O Kuffar 2! You are ruthless but we are also ruthless.

                     Did you think that we would remain inattentive? Did you believe we would not

                     repay you in your lands upon your terms, as you did whilst you raped the Umma of

                     its glory and honor and subjected it to a state of weakness and humility humiliation



1 Bismillah Hir-Rahmaan Nir-Raheem translates to “In the name of God, most gracious, most merciful.”
2 Based on my training and experience, I have learned that “Kuffar” refers to people who are unbelievers or
disbelievers, specifically those who reject the faith of Islam.


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                     and corruption? Verily 3 today has brought a great wound upon you and has

                     paralyzed your media and whatever you possess of temporary might and power!”

                     I believe these statements were written by BURGER and corroborate statements he

                     made as Crazz3pain.

               b. A search of BURGER’s Apple iPhone showed searches for, among other things,

                     the following:

                           i. “Lone wolf terrorists isis”

                          ii. “Lone wolf truck isis propaganda”

                         iii. “Which month is april in islam”

                         iv. “Festivals happening near me”

                          v. “are suicide attacks haram in islam”

                         vi. “ginger isis member”

                        vii. “38 round,” “M14,” “g43x,” “.223,” “g19,” “p80,” “972 magazine,” “.45,”

                               “WASR .45,” “WASR gun” 4

                       viii. “kill the disbelievers where you find them quran”

                         ix. “kill cops not trees”

                          x. “what is the most effective knife type”

                         xi. “what is the punishment for the one who insults allah or his messenger”

                        xii. “can tou kill a woman who foesnt wear hijab”

                       xiii. “Is abu bakr apart of ahlul bayt” 5




3 Verily is an old-fashioned adverb meaning in truth or indeed.
4 These searched terms are types of firearms or ammunitions
5 Abu Bakr al-Baghdadi was a leader of ISIS, and served as its first caliph from 2014 until his death in 2019.


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                c. Web browser autofill data for BURGER’s laptop showed saved information for the

                     Gmail account associated with the Crazz3pain Roblox account and other accounts.

                     That indicates BURGER was the user of these accounts relevant to the crimes under

                     investigation.

                d. BURGER searched for “iskp claims suicide attack on shia” and I have learned that

                     ISKP is the abbreviation for Islamic State Khorasan Province (ISKP), a designated

                     foreign terrorist organization. BURGER also searched for mosque attacks and ISIS

                     bombings.

                e. BURGER took screenshots of his user name, crazz3pain, being banned from

                     Roblox. According to BURGER in the interview, being banned in Roblox was a

                     familiar occurrence.


                                               CONCLUSION


          17.        Based on the facts set forth above, I submit there is probable cause to believe that,

on or about January 23, 2025, within the Western District of Texas and elsewhere, James Wesley

BURGER committed violations of 18 U.S.C. § 875(c) and that the Court should issue a warrant

for his arrest.




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FURTHER AFFlANT SA YETH NAUGHT.

          Affiant declares under penalty of perjury that the foregoing is true and correct to the best

of Affiant's knowledge and belief.


                                                        ��
                                                       Carletta Carter
                                                       Special Agent
                                                       Federal Bureau of Investigation
                                                       Austin, Texas



          Subscribed and sworn to via telephone per Federal Rule of Criminal Procedure 4.1 on this

 16th
_____ day of May, 2025.




                                                       MARK LANE
                                                       UNITED STATES MAGISTRATE JUDGE




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